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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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Branch :LSL,User :LFRI          Order: 088051032 Title Officer: 53 Comment:                          Station Id :CI34
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